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                Exhibit B
                       to
          Defendant’s Notice of Removal
Case
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  Richard Stern
  Alex Talesnick
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  Fax: (212) 974-3205

  Counsel for the Senior Lenders

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  In re:                                                )         Chapter 11
                                                        )
  REPUBLIC METALS REFINING                              )         Case No. 18-13359 (SHL)
  CORPORATION, et al.,1                                 )
                                                        )         (Jointly Administered)
                              Debtors.                  )
                                                        )

      INITIAL DISCLOSURES OF THE SENIOR LENDERS PURSUANT TO FRCP 26(A)(1)




  1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
  identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209,
  New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378),
  Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High
  Tech Metals, LLC, 13001 NW 38th Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th
  Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic
  LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604), R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL
  33054 (7848), Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R.
  200001 China (1639) and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409,
  Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
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  <RUN%UDQFK%URZQ%URWKHUV+DUULPDQ &R%DQN+DSRDOLP%00LWVXELVKL,QWHUQDWLRQDO

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  XQGHUVLJQHGFRXQVHOSURYLGHWKHIROORZLQJLQLWLDOGLVFORVXUHVLQDFFRUGDQFHZLWKWKH&RXUW¶V

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           Name                     Contact Information                  Subject Matter
   Current and former        c/o Akerman LLP                   Information concerning the subjects
   representatives of the    2001 Ross Avenue                  listed under the section titled
   Debtors and affiliated    Suite 3600                        “Debtors” in Paragraph 3(a) of the
   entities, including,      Dallas, Texas 75201               Procedures Order.
   without limitation,       Attention: John E. Mitchell
   Jason Rubin, David                   Yelena Archiyan
   Comite and Alan           Telephone: (214) 720-4300
   Silverstein
                             98 Southeast Seventh Street
                             Suite 1100
                             Miami, Florida 33131
                             Attention: Andrea S. Hartley
                                        Joanne Gelfand
                                        Katherine C. Fackler
                             Telephone: (305) 374-5600

   Current representatives   c/o Akerman LLP                   Information concerning the subjects
   of Paladin                2001 Ross Avenue                  listed under the section titled
   Management Group,         Suite 3600                        “Debtors” in Paragraph 3(a) of the
   LLC, as financial         Dallas, Texas 75201               Procedures Order.
   advisors to the           Attention: John E. Mitchell
   Debtors, including,                  Yelena Archiyan
   without limitation,       Telephone: (214) 720-4300
   Scott Avila, in his
   capacity as Chief         98 Southeast Seventh Street
   Restructuring Officer     Suite 1100
   of the Debtors            Miami, Florida 33131
                             Attention: Andrea S. Hartley
                                        Joanne Gelfand
                                        Katherine C. Fackler
                             Telephone: (305) 374-5600

   Current and former        111 Wood Avenue South             Information concerning the Debtors’
   representatives of        Iselin, New Jersey 08830          inventory, transactions with
   EisnerAmper LLP, as       Telephone: (732) 243-700          Customers and other bookkeeping
   accountants to the                                          records.
   Debtors

   Current and former        1395 Brickell Avenue              Information concerning the Debtors’
   representatives of        Suite 1150                        inventory, transactions with
   Crowe Horwath LLP,        Miami, Florida 33131              Customers and other bookkeeping
   as accountants to the     Telephone: (786) 534-0250         records.
   Debtors




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   UHSUHVHQWDWLYHVRIWKH                                        OLVWHGXQGHUWKHVHFWLRQWLWOHG
   &XVWRPHUV                                                     ³&XVWRPHUV´LQ3DUDJUDSK D RI
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  FRPPHQFHGWKHSURFHVVRILGHQWLI\LQJDQGJDWKHULQJGRFXPHQWVWDQJLEOHWKLQJVDQG

  HOHFWURQLFDOO\VWRUHGLQIRUPDWLRQWKDWLVLQWKHLUSRVVHVVLRQFXVWRG\RUFRQWURODQGWKDWWKH\PD\

  XVHWRVXSSRUWWKHLUFODLPVDQGGHIHQVHVXQOHVVVROHO\IRULPSHDFKPHQW&RSLHVRIVXFK

  GRFXPHQWVWKLQJVDQGLQIRUPDWLRQKDYHEHHQSURGXFHGWRWKH'HEWRUVWKH&UHGLWRUV¶&RPPLWWHH

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  2UGHUDQGFDQDOVREHPDGHDYDLODEOHDWWKHRIILFHVRI/XVNLQ6WHUQ (LVOHU//3(OHYHQ7LPHV

  6TXDUH1HZ<RUN1HZ<RUNXSRQDSURSHUUHTXHVWDQGDWDWLPHWREHPXWXDOO\

  GHWHUPLQHG7KHIROORZLQJLVDJHQHUDOGHVFULSWLRQRIFDWHJRULHVRIVXFKGRFXPHQWV

          x       'RFXPHQWVUHODWLQJWRWKH'HEWRUV¶FRQWHQWLRQWKDWWKH$VVHWVEHORQJWRWKH
                   'HEWRUV¶EDQNUXSWF\HVWDWHVDQGQRWWRWKH&XVWRPHUV

          x       'RFXPHQWVUHODWLQJWRWKH6HQLRU/HQGHUV¶VHFXULW\LQWHUHVWVLQDQGOLHQVRQWKH
                   $VVHWVLQFOXGLQJZLWKRXWOLPLWDWLRQORDQGRFXPHQWVDPHQGPHQWVLQWHUFUHGLWRU
                   DJUHHPHQWVIRUEHDUDQFHDJUHHPHQWV8&&ILOLQJVDQGUHODWHGOLHQSHUIHFWLRQ
                   GRFXPHQWV

          x       /RDQDQGVHUYLFLQJUHFRUGV

          x       'RFXPHQWVUHODWLQJWRWKH6HQLRU/HQGHUV¶DVVHUWLRQVLQWKH2PQLEXV5HVSRQVHRI
                   WKH6HQLRU/HQGHUVWR&XVWRPHU6WDWHPHQWV3XUVXDQWWR2UGHU$SSURYLQJ
                   8QLIRUP3URFHGXUHV)RU5HVROXWLRQRI2ZQHUVKLS'LVSXWHV>'RFNHW1R@




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  VHHNLQJGDPDJHVLQWKLVSURFHHGLQJDWWKLVWLPH

                3XUVXDQWWR)HG5&LY3 D  LY WKH6HQLRU/HQGHUVVWDWHWKDWWKH\DUHQRW

  DZDUHRIDQ\LQVXUDQFHDJUHHPHQWXQGHUZKLFKDQLQVXUDQFHEXVLQHVVPD\EHOLDEOHWRVDWLVI\DOO

  RUSDUWRIDSRVVLEOHMXGJPHQWLQWKLVSURFHHGLQJRUWRLQGHPQLI\RUUHLPEXUVHIRUSD\PHQWV

  PDGHWRVDWLVI\DMXGJPHQWLQWKLVSURFHHGLQJ

                'LVFRYHU\LVLQLWVHDUO\VWDJHVDQGWKH6HQLRU/HQGHUV¶LQYHVWLJDWLRQRIUHOHYDQW

  IDFWVLVRQJRLQJ7KH6HQLRU/HQGHUVEDVHWKHVHLQLWLDOGLVFORVXUHVRQLQIRUPDWLRQUHDVRQDEO\

  DYDLODEOHWRWKHPDWWKLVWLPHDQGUHVHUYHWKHULJKWWRDPHQGRUVXSSOHPHQWWKHLUGLVFORVXUHVRI

  ZLWQHVVHVDQGGRFXPHQWVWKDWPD\EHUHOHYDQWWRWKLVFDVH7KLVGLVFORVXUHLVPDGHZLWKRXW

  ZDLYHURI  DQ\DWWRUQH\FOLHQWZRUNSURGXFWRURWKHUSULYLOHJHZKLFKPD\DSSO\WRFHUWDLQ

  VSHFLILFGRFXPHQWVFRQWDLQHGLQWKHJHQHUDOFDWHJRULHVRIGRFXPHQWVLGHQWLILHGDERYH  DQ\

  REMHFWLRQVRQUHOHYDQFHRURWKHUJURXQGVWKH6HQLRU/HQGHUVPD\KDYHWRSURGXFWLRQDQGRU

  LQWURGXFWLRQLQHYLGHQFHRIDQ\GRFXPHQWVLGHQWLILHGLQWKLVGLVFORVXUHRU  WKHSURWHFWLRQ

  DIIRUGHGWUDGHVHFUHWVDQGRWKHUFRQILGHQWLDOEXVLQHVVLQIRUPDWLRQFRQWDLQHGLQFHUWDLQRIWKH

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   Dated: New York, New York                    Respectfully submitted,
          March 11, 2019

                                                LUSKIN, STERN & EISLER LLP

                                                /s/    Michael Luskin
                                                Michael Luskin
                                                Richard Stern
                                                Alex Talesnick
                                                Eleven Times Square
                                                New York, New York 10036
                                                Telephone: (212) 597-8200
                                                Facsimile: (212) 974-3205
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                                                E-Mail: talesnick@lsellp.com

                                                Counsel for the Senior Lenders




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of March, 2019, I caused a true and correct copy of

  the foregoing Initial Disclosures of the Senior Lenders Pursuant to FRCP 26(A)(1) to be filed

  and served through ECF notification upon all parties who receive notice in this matter pursuant

  to the Court’s ECF filing system.


                                                      /s/ Michael Luskin
                                                      Michael Luskin
